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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 –––––––––––––––––––––––––––––––––––––– x
                                        :
 UNITED STATES OF AMERICA
                                        :                               22 Cr. 673 (LAK)
             v.
                                        :
 SAMUEL BANKMAN-FRIED,
                                        :
                         Defendant.
                                        :
 –––––––––––––––––––––––––––––––––––––– x


                                   DECLARATION OF DAVID SUN

David Sun declares pursuant to 28 U.S.C. § 1746 as follows:

        1.       I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration. The evidence set out in the foregoing Declaration is based on my personal

knowledge.

        2.       My professional experience and expertise were provided in my prior declaration

(see ECF No. 72-1).

        3.       I have reviewed the proposed order to modify the Defendant’s bail conditions. I

note that Appendix 1 of the order specifies the use of various tools and technologies that store

information in cloud-based platforms. Cloud-based platforms are accessible by anyone on the

Internet and can be subject to a data breach, causing the information stored on them to be

publicly disclosed or used without authorization. These data breaches could be perpetrated for

illicit financial gain or personal interest. Data related to high profile individuals can be

particularly attractive to cryptocurrency “hacktivists”1 and celebrity followers. There have been

a number of well-known instances where celebrities such as Anne Hathaway, Miley Cyrus,


1
  Oxford Languages defines Hacktivists as “a person who gains unauthorized access to computer files or networks in
order to further social or political ends.”
                                                      -1-
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Kristen Stewart, Katharine McPhee, golfer Tiger Woods and Olympian Lindsey Vonn have had

their personal and intimate photos breached from their Apple iCloud accounts and shared on the

Internet.2

           4.      The information stored in the cloud for this matter could be similarly attractive for

a data breach. Examples of the sensitive information include:

                a. photographs of Mr. Bankman-Fried and his parents;

                b. privileged information including emails between Mr. Bankman-Fried and his

                   defense counsel;

                c. every key typed by Mr. Bankman-Fried, to include his passwords to various

                   systems;

                d. data from the FTX transactional database;

                e. other sensitive documents provided in the criminal discovery.

           5.      Public disclosure of the specific tools and cloud-based platforms used will

disclose key details, directing potential threat actors to target specific systems for stealing

sensitive information. Based on my experience and expertise in cybersecurity and data breaches,

I believe that Appendix 1 of the proposed order, which provides details of the tools and

technologies used, should be sealed to reduce the chance of a data breach.

           I declare under penalty of perjury that the foregoing is true and correct.



Dated: Great Falls, VA
       March 27, 2023                                                    ________________________
                                                                         David Sun




2
    https://thehackernews.com/2017/08/frappening-celebrity-photos.html
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